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                                                        - 595 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                        ARMSTRONG v. CLARKSON COLLEGE
                                               Cite as 297 Neb. 595



                                        K elly A rmstrong, appellee, v.
                                        Clarkson College, appellant.
                                                    ___ N.W.2d ___

                                        Filed September 1, 2017.   No. S-16-717.

                1.	 Directed Verdict: Appeal and Error. In reviewing a trial court’s ruling
                    on a motion for directed verdict, an appellate court must treat the motion
                    as an admission of the truth of all competent evidence submitted on
                    behalf of the party against whom the motion is directed; such being the
                    case, the party against whom the motion is directed is entitled to have
                    every controverted fact resolved in its favor and to have the benefit of
                    every inference which can reasonably be deduced from the evidence.
                2.	 Directed Verdict: Evidence. A directed verdict is proper at the close of
                    all the evidence only when reasonable minds cannot differ and can draw
                    but one conclusion from the evidence, that is, when an issue should be
                    decided as a matter of law.
                3.	 Judgments: Appeal and Error. An appellate court independently
                    reviews questions of law decided by a lower court.
                4.	 Contracts: Appeal and Error. The formation and terms of an implied
                    contract are questions of fact, which an appellate court reviews for
                    clear error.
                5.	 Rules of Evidence. In proceedings where the Nebraska Evidence Rules
                    apply, the admissibility of evidence is controlled by such rules; judicial
                    discretion is involved only when the rules make discretion a factor in
                    determining admissibility.
                6.	 Rules of Evidence: Appeal and Error. When the Nebraska Evidence
                    Rules commit the evidentiary question at issue to the discretion of the
                    trial court, an appellate court reviews the admissibility of evidence for
                    an abuse of discretion.
                7.	 Trial: Evidence: Appeal and Error. In a civil case, the admission or
                    exclusion of evidence is not reversible error unless it unfairly prejudiced
                    a substantial right of the complaining party.
                8.	 Jury Instructions: Pleadings: Evidence. A litigant is entitled to
                    have the jury instructed upon only those theories of the case which
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              Nebraska Supreme Court A dvance Sheets
                      297 Nebraska R eports
                    ARMSTRONG v. CLARKSON COLLEGE
                           Cite as 297 Neb. 595
     are presented by the pleadings and which are supported by compe-
     tent evidence.
 9.	 Jury Instructions: Proof: Appeal and Error. To establish reversible
     error from a court’s failure to give a requested jury instruction, an appel-
     lant has the burden to show that (1) the tendered instruction is a correct
     statement of the law, (2) the tendered instruction was warranted by the
     evidence, and (3) the appellant was prejudiced by the court’s failure to
     give the requested instruction.
10.	 Jury Instructions. Whether the jury instructions given by a trial court
     are correct is a question of law.
11.	 Judgments: Appeal and Error. When reviewing questions of law, an
     appellate court has an obligation to resolve the questions independently
     of the conclusion reached by the trial court.
12.	 ____: ____. It is not error for a trial court to refuse a requested instruc-
     tion if the substance of the proposed instruction is contained in those
     instructions actually given.
13.	 ____: ____. If the instructions given, which are taken as a whole, cor-
     rectly state the law, are not misleading, and adequately cover the issues
     submissible to a jury, there is no prejudicial error concerning the instruc-
     tions and necessitating a reversal.
14.	 Motions for New Trial: Appeal and Error. An appellate court reviews
     a denial of a motion for new trial or, in the alternative, to alter or amend
     the judgment, for an abuse of discretion.
15.	 Judges: Words and Phrases. A judicial abuse of discretion exists when
     the reasons or rulings of a trial judge are clearly untenable, unfairly
     depriving a litigant of a substantial right and denying just results in mat-
     ters submitted for disposition.
16.	 Contracts: Parties: Intent. An implied in fact contract arises where the
     intention of the parties is not expressed in writing but where the circum-
     stances are such as to show a mutual intent to contract.
17.	 Contracts: Parties. The requisite mutuality for an enforceable contract
     is absent when one of the contracting parties is bound to perform, and
     the rights of the parties exist at the option of one only.
18.	 Contracts: Intent. Where an implied in fact contract exists, its terms
     may be shown by the surrounding facts and circumstances giving rise
     to the contract, the conduct of the parties when performing under the
     contract, or a general reasonableness standard.
19.	 ____: ____. As a general matter, the terms of an implied contract
     are a question of fact to be determined by the jury based on the evi-
     dence presented.
20.	 Pleadings. An affirmative defense raises a new matter which, assum-
     ing the allegations in the petition to be true, constitutes a defense to the
     merits of a claim asserted in the petition.
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              Nebraska Supreme Court A dvance Sheets
                      297 Nebraska R eports
                     ARMSTRONG v. CLARKSON COLLEGE
                            Cite as 297 Neb. 595
21.	 Colleges and Universities: Breach of Contract. An argument that
     academic deference applies to a decision of a college or university is
     not an affirmative defense, but instead relates to the proper standard
     for reviewing a plaintiff’s claim for breach of contract premised on an
     academic judgment.
22.	 Colleges and Universities: Courts. Not every decision by an academic
     institution is subject to deference.
23.	 Directed Verdict: Pleadings. If there are controverted facts to sup-
     port recovery upon any theory of liability pled by the plaintiff, then a
     directed verdict is properly denied.
24.	 Contracts. The doctrine of impossibility of performance, often now
     called impracticability of performance, excuses a promisor’s failure to
     perform a duty under a contract where performance has been rendered
     severely impracticable or impossible by unforeseen circumstances.
25.	 Contracts: Proof. There are three general requirements for the applica-
     tion of the doctrine of impracticability of performance: (1) the occur-
     rence (or nonoccurrence) of the event causing the impracticability
     was unexpected; (2) performance of the duty by the promisor would
     be extremely difficult and burdensome, if not impossible; and (3)
     the promisor did not assume the risk of the event’s occurrence (or
     nonoccurrence).
26.	 Contracts. Performance of a contractual duty is not impracticable
     merely because it has become inconvenient or more expensive. Mere
     difficulty of performance is not enough.
27.	 ____. A promisor’s duty to perform will be excused if it is the other
     party’s conduct that makes performance impossible or impracticable.
28.	 Contracts: Proof. The party invoking the impracticability defense must
     show that he or she used reasonable efforts to surmount the obstacles
     which prevented performance.
29.	 Jury Instructions: Evidence. A tendered jury instruction is warranted
     by the evidence only if there is enough evidence on the issue to produce
     a genuine issue of material fact for the jury to decide.
30.	 Damages. A party is required only to mitigate damages that might have
     been avoided by reasonable efforts.
31.	 ____. In reviewing the reasonableness of a party’s actions to mitigate
     damages, an appellate court often considers three factors: (1) the cost or
     difficulty to the plaintiff of mitigation, (2) the plaintiff’s financial ability
     to mitigate, and (3) the defendant’s actions to inhibit the plaintiff from
     mitigating damages.
32.	 Administrative Law: Appeal and Error. Under the doctrine of exhaus-
     tion of administrative remedies, one must generally exhaust any avail-
     able administrative remedies before one can seek judicial review.
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             Nebraska Supreme Court A dvance Sheets
                     297 Nebraska R eports
                   ARMSTRONG v. CLARKSON COLLEGE
                          Cite as 297 Neb. 595
33.	 Administrative Law. The exhaustion of administrative remedies doc-
     trine generally applies to governmental entities.
34.	 Administrative Law: Appeal and Error. The exhaustion of remedies
     doctrine applies in many cases to private, nongovernmental entities that
     provide internal administrative review procedures.
35.	 Colleges and Universities: Employment Contracts. Where an
     employer or university provides a mandatory grievance procedure in a
     contract, the enforceability of a party’s rights under the contract is con-
     ditioned on the exercise of that grievance procedure.
36.	 Contracts: Appeal and Error. Mandatory grievance procedures must
     be exhausted before seeking judicial review, because the grievance
     procedure is part of the contractual bargain and defines the rights
     themselves.
37.	 Administrative Law: Contracts: Proof. The exhaustion of a manda-
     tory grievance procedure in a contract is a condition precedent to enforc-
     ing the rights under that contract.

  Appeal from the District Court for Douglas County: M arlon
A. Polk, Judge. Reversed and remanded for a new trial.
  Brien M. Welch and Kathryn J. Cheatle, of Cassem, Tierney,
Adams, Gotch &amp; Douglas, for appellant.
  Jason Mario Bruno and Robert S. Sherrets, of Sherrets,
Bruno &amp; Vogt, L.L.C., for appellee.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
   Wright, J.
                     I. NATURE OF CASE
   A jury awarded Kelly Armstrong a $1 million verdict on her
breach of contract claim against Clarkson College (Clarkson).
Armstrong had been a student at Clarkson, but was placed on
probation and then administratively withdrawn from the school
by Clarkson. Clarkson appeals the district court’s denial of its
motion for a directed verdict, the denial of several requested
jury instructions, the exclusion of evidence, and the denial of
its motion for new trial. Because we conclude that the dis-
trict court erred by refusing to give Clarkson’s requested jury
instruction on Armstrong’s alleged failure to fulfill a condition
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
precedent by not exhausting the college’s grievance procedure,
we reverse, and remand for a new trial.
                      II. BACKGROUND
                 1. Clarkson’s CRNA Program
   Clarkson is a nonprofit health science college located in
Omaha, Nebraska. In 2010, Clarkson established a program for
a master of science in nursing with a specialization in nurse
anesthesia (CRNA program). After a student graduates from
the program, the student can take a national examination to
become a certified registered nurse anesthetist (CRNA).
   The CRNA program, like other nurse anesthetist programs,
has two components, didactic and clinical. Clarkson’s program
is “front-loaded,” with the completion of the didactic portion
first, followed by the clinical portion. The didactic portion,
consisting of coursework, lasts 12 months. The clinical portion
is completed at various clinical sites and lasts 18 months. In
the clinical stage of the CRNA program, the students work at
a hospital under the supervision of the hospital’s CRNA staff,
gaining experience in nearly every type of case a CRNA would
encounter in practice. Clarkson contracts with clinical sites
to provide clinical education for its students. These contracts,
known as clinical affiliation agreements, outline the obligations
of both Clarkson and the clinical sites.
   When the events underlying this litigation occurred in 2013,
Clarkson had five primary clinical sites. A primary clinical site
is one where a student completes the vast majority of his or
her clinical work. In 2013, Clarkson also had two rural spe-
cialty sites where a student in the CRNA program could gain
experience in a rural hospital setting. These specialty sites are
designed to supplement the student’s clinical experience, but
unlike the primary clinical sites, do not provide all of the types
of experience a student needs to complete his or her clini-
cal requirements.
   In the fall of 2011, Armstrong enrolled in the CRNA pro-
gram. She completed the didactic portion, earning a 3.84 grade
point average. Armstrong then began the clinical phase of
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          Nebraska Supreme Court A dvance Sheets
                  297 Nebraska R eports
               ARMSTRONG v. CLARKSON COLLEGE
                      Cite as 297 Neb. 595
the program and was assigned to the University of Nebraska
Medical Center (UNMC) as her main clinical site. She then
began doing a rotation at a specialty clinical site in Red
Oak, Iowa.
              2. Program H andbooks and M anuals
   At trial, several of Clarkson’s student handbooks and policy
manuals were admitted into evidence, including: Clarkson’s
student handbook, the handbook for nurse anesthesia stu-
dents, Clarkson’s nurse anesthesia program policies and pro-
cedures manual, Clarkson’s nurse anesthesia program clinical
site manual, and Clarkson’s grievance policy. Clarkson’s Code
of Conduct (Code of Conduct) is contained within its student
handbook, which applies to all students, not just those in the
CRNA program.
   Many of the Clarkson handbooks and policies contained
disclaimers that they were not contractual in nature: the CRNA
program handbook states, “The information in this syllabus is
intended to be informational and not contractual in nature,”
and the CRNA program policies and procedures manual states,
“The statements contained herein are not to be regarded as an
offer or contract.” Clarkson’s student handbook and its clini-
cal site manual do not appear to contain contractual disclaim-
ers. Most of the handbooks also contained clauses reserving
Clarkson’s right to change the policies at any time.
   Also admitted was the code of ethics for the CRNA, which
is adopted and promulgated by the American Association of
Nurse Anesthetists (AANA). Clarkson students in the CRNA
program are required to follow this code of ethics (AANA
Code of Ethics) under the CRNA program handbook.
                       3. AANA Conference
   When Armstrong was approximately halfway done with the
clinical portion of the CRNA program, she decided to attend
a national AANA conference in Washington, D.C. Armstrong
testified at trial that she and Kristal Hodges, who Armstrong
described as her “best friend in the program at the time,”
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
decided to go, because they thought the conference would be
fun and would provide a break from the rigors of clinical work.
The conference took place on April 14 to 17, 2013. Armstrong
and Hodges were the only two students in the Clarkson CRNA
program who attended this national conference.
             4. AANA Political Action Committee
                  Potomac Cruise Fundraiser
   The AANA conference was 4 days long, Sunday through
Wednesday. The conference on Sunday featured discussions on
the legislative and political issues facing the nurse anesthetist
profession. Hodges arrived on Saturday, the day before the
conference, while Armstrong arrived on Sunday afternoon. The
two stayed in the same hotel room.
   On Sunday night, AANA’s political action committee hosted
a fundraiser event for the conference attendees. The fund-
raiser was a boat cruise on the Potomac River. The attendees
were instructed to wear either professional attire or dress for
the event’s 1980’s theme. Many members of the Nebraska
Association of Nurse Anesthetists and Nebraska CRNA’s were
in attendance at the fundraiser.
   Conference attendees were provided bus transportation to
the fundraiser boat ride. Alcohol was served at the fundraiser;
the attendees were given two drink tickets, and glasses of
champagne were offered to them as they arrived on the boat.
   Armstrong testified that she consumed only four alcoholic
drinks on the cruise. She testified that she used her two drink
tickets for two beers, but did not remember finishing her
champagne. She said that Timothy Glidden, the chief CRNA at
UNMC and Armstrong’s clinical supervisor, bought her a beer
as did another individual. Armstrong estimated that the fund-
raiser lasted about 4 hours.
                          5. Bus R ide
  After the fundraiser ended, the attendees were transported
by bus back to the hotel. The bus was filled with conference
and fundraiser attendees, including many from Nebraska. Also
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
               ARMSTRONG v. CLARKSON COLLEGE
                      Cite as 297 Neb. 595
on the bus was Nancy Gondringer, the federal political direc-
tor and past president of the Nebraska Association of Nurse
Anesthetists and a member of the “Small States Committee”
of the AANA. Glidden was on the bus, as was another UNMC
CRNA and also a Clarkson CRNA instructor. Dennis Bless, the
then-incoming president of the AANA, was also on the bus.
Other students in CRNA programs and CRNA’s from Nebraska
and other states rode on the bus as well.
   There was some conflict in the witnesses’ testimony at trial
about what happened on the bus ride. Armstrong testified that
she got on the bus and took a seat near Bless. She said that
she and Bless were joking about the 1980’s costumes that
some were wearing as part of the fundraiser’s theme. Hodges
was seated behind her. Armstrong said that she asked for the
fake moustache that Bless had as part of his 1980’s costume
and then stood up and turned around to Hodges, placed the
moustache on her stomach, just below her belly button, and
made a joke about a term used to reference ungroomed pubic
hair. Armstrong said that she had used the term in the past as a
nickname for Hodges or to tease her and that it was an “inside
joke” between the two about Hodges’ being single, because “if
you’re going to go out and start dating, you better clean that
up.” Armstrong testified that she told Bless that ungroomed
pubic hair could have been part of her 1980’s-themed cos-
tume, after which she obtained his fake moustache to make
her joke.
   Other witnesses, such as Hodges, Gondringer, and Glidden,
gave a slightly different account. They testified that Armstrong
held her pants down near her pubic symphysis, with the mous-
tache just above her pants, walking up and down the aisle of
the bus, saying things like, “Look at my [ungroomed pubic
hair],” and “[t]his is how yours looks like” to Hodges. Hodges,
Gondringer, and Glidden told Armstrong to stop several times,
after which she eventually sat down. But Armstrong testified
that the other witnesses’ accounts of her behavior were “exag-
gerated quite a bit.”
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
                          6. Probation
                  (a) Return From Conference
   As Armstrong was en route home from the conference,
Hodges called Armstrong because she was concerned that
Armstrong had missed her flight because she did not wake
up in time that morning. According to Hodges, when they
spoke over the telephone, Armstrong told Hodges that Hodges
did not know how to have fun and was “too uptight.” They
argued about what had happened at the conference. Hodges
told Armstrong that Armstrong may be in some trouble with
Clarkson, because “[t]here were so many people there” and
“[s]omebody’s going to say something.”
   Dr. Mary Hoversten, the director of Clarkson’s CRNA pro-
gram, soon received word of the incident on the fundraiser
bus ride. The day the conference ended, about 3 days after the
incident, Hoversten received a telephone call from Hodges,
informing her about the incident. Hodges was emotional on the
call and told Hoversten that Armstrong’s behavior was unpro-
fessional and very embarrassing to her. The next morning,
Hoversten informed her supervisor of the situation and they
decided to meet with Armstrong when she returned. Hoversten
spoke to Armstrong over the telephone and told her not to
return to her specialty clinical site, but to return to Clarkson’s
campus for a meeting. According to Hoversten, Armstrong
acknowledged during the call that her behavior was unprofes-
sional and that she was sorry about it.
   Hoversten spoke with Glidden over the telephone. Glidden
described what he had observed on the bus ride and that he
thought Armstrong’s behavior was unprofessional and inappro-
priate. He said that he was not sure whether Armstrong would
be allowed back at UNMC, her main clinical site. Hoversten
also called Gondringer about the incident on the bus ride.
                (b) April 23, 2013, Meeting
  On April 23, less than a week after the conference ended,
Armstrong had a meeting at Clarkson. In attendance at the
meeting were Armstrong; Hoversten; Dr. Tony Damewood, the
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
vice president of operations for Clarkson; and the vice presi-
dent of academic affairs. Armstrong brought an attorney to the
April 23 meeting. According to Armstrong, her attorney was
not allowed in the meeting by Damewood, who made him wait
in the hallway.
   The decision was made to place Armstrong on probation for
violating the AANA Code of Ethics and the CRNA program
handbook. Armstrong was told at the meeting that she would
not be able to return to her specialty clinical site due to the
rule in the CRNA program handbook that students on clinical
probation cannot work at specialty clinical sites. According to
Hoversten’s notes from the meeting, the possibility that her
clinical site may not allow her to return due to the incident
was discussed.
   Damewood, who was not a part of the CRNA program, was
present at the April 23 meeting because of his role in Clarkson’s
student assistance program. Damewood told Armstrong at the
meeting that she had violated the Clarkson Code of Conduct.
The Code of Conduct is a part of the Clarkson student hand-
book, applicable to all Clarkson students, not just the students
in the CRNA program. The Code of Conduct has different
procedural requirements for student discipline than the pro-
cedures for placing a student on clinical probation under the
CRNA program handbook. Damewood said at trial that, in ret-
rospect, he did not believe that Armstrong violated the Code of
Conduct. Damewood never told Armstrong that he was incor-
rect to state that her conduct violated the Code of Conduct.
No charges were ever filed against Armstrong under the Code
of Conduct.
                 (c) April 24, 2013, Meeting
   The next day, April 24, the academic progression com-
mittee met to formally notify Armstrong that she was being
placed on probation and discuss the probation terms. Present
at the meeting were Armstrong, Hoversten, and Dr. Ann
Glow, the assistant director of the CRNA program. The notes
from the meeting state that another faculty member and two
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           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
UNMC clinical coordinators were absent and would be briefed
on the meeting.
   At the April 24 meeting, Armstrong was given a formal
notice by Hoversten that she was being placed on probation.
The general plan for probation was discussed. The tentative
plan was for Armstrong to return to her primary clinical site,
UNMC, pending the approval of Glidden. Armstrong was told
of UNMC’s right to terminate her clinical experience. The
plan, if UNMC did not allow her to return, was that Clarkson
would “make a reasonable attempt to place [Armstrong] in an
alternative site. . . . If this is unsuccessful, [Armstrong] will
be given the option to withdraw from the program or be ter-
minated. [Armstrong] is made aware of [Clarkson’s] Student
Grievance Policy . . . .”
   Hoversten told Armstrong that she was being placed on
probation due to a violation of rule 3.4 of the AANA Code
of Ethics, which states that “[t]he CRNA is responsible and
accountable for his or her conduct in maintaining the dignity
and integrity of the profession.” Armstrong was given a copy
of this portion of the AANA Code of Ethics.
   Also discussed at the meeting was the CRNA program hand-
book rule regarding practice and professional ethics. The rule
regarding professionalism states that “[s]tudents shall conduct
themselves in a professional and respectable manner during
class time, clinical time and during professional meetings and
seminars.” The subpart of the professionalism rule related to
practice and professional ethics incorporates the AANA Code
of Ethics and makes it applicable to students in the Clarkson
CRNA program:
         The program expects students to adopt and observe the
      AANA Code of Ethics. Violations of this ethical conduct
      standard will be regarded as professional and academic
      misconduct and failure to meet clinical performance
      objectives, and be subject to review as such.
         If a student is found to be noncompliant with this
      policy disciplinary actions will be taken, up to and/or
      including dismissal from the Program.
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          Nebraska Supreme Court A dvance Sheets
                  297 Nebraska R eports
               ARMSTRONG v. CLARKSON COLLEGE
                      Cite as 297 Neb. 595
   Additionally, the CRNA program handbook’s probation pol-
icy and dismissal procedure was discussed. That provision dis-
tinguishes between academic probation and clinical probation.
A student must, at a minimum, be placed on clinical probation
for certain reasons, including “[f]ailure to comply with the
AANA ethical code of conduct.” It also states that a student
may be dismissed from the program for failing to comply with
the AANA Code of Ethics. Armstrong was also given a copy of
this portion of the CRNA program handbook.
   The program’s withdrawal and grievance policies were also
discussed with Armstrong. The grievance policy allows stu-
dents to grieve a complaint that “a specific decision or action
that affects the student’s academic record or status has vio-
lated published policies and procedures, or has been applied
to the grievant in a manner different from that used for other
students.” The policy details the procedure for filing a griev-
ance, including that grievances must be filed no later than 7
days after the incident in question. Grievances are heard by a
grievance committee, which is composed of five members: an
academic council member, a faculty member from the faculty
senate executive committee, a student representative, a direc-
tor from student services, and the vice president of academic
affairs (who votes only in case of a tie vote), each of which
must be without conflicts of interest. The policy states that
“[t]he Grievance Committee is the designated arbiter of dis-
putes within the student community in cases, which do not
involve a violation of the Student Code of Conduct . . .” and
that “[d]ecisions made by the Grievance Committee and/or
[vice president of academic affairs] shall be final.” Armstrong
was provided a copy of the grievance procedure and a griev-
ance form.
   Armstrong was given a copy of the withdrawal policy in
the CRNA program handbook by Hoversten so that if she
were unable to progress in the program, she could withdraw
from the program and reapply at another program without
having a dismissal on her academic record. Armstrong was
also provided a copy of the CRNA program handbook policy
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                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
on time off during the program, which states that during the
clinical phase, students are allowed only 25 days of planned or
unplanned absences.
   Armstrong agreed to the terms of the probation. She testified
that she felt like she had no choice but to agree to the probation
“because there was no other option. I felt like the other option
would be you’re done, like, you can’t go on any further, so
there was really no choice.”
                    (d) April 25, 2013, Meeting
   Another meeting was held on April 25 with Armstrong,
Hoversten, and Glow. Hoversten learned earlier that day that
Glidden and UNMC’s CRNA education committee had unan-
imously decided not to allow Armstrong back at UNMC.
Glidden said at trial that he had a patient safety concern
based on what he observed of Armstrong’s behavior on the
Washington, D.C., trip. Hoversten told Armstrong that she
would try to find her another clinical site. Hoversten and Glow
told Armstrong that they were her advocates.
   Hoversten sent emails to the CRNA program’s other primary
clinical sites to see if they would be willing to take Armstrong.
These emails were substantially similar and read:
         I have a situation with a student. She has recently been
      put on probation due to misconduct. Her primary clinical
      site has made the decision not to allow her to return as a
      [CRNA program student]. Her problems are behavioral
      not academic. This is not a patient safety issue.
         As her program director, I am making every effort to
      reassign her to another site. If you feel you have enough
      room for a second senior Clarkson student and your group
      would be willing to take this on, please call me at your
      earliest convenience. If not, let me know so I can move
      forward with this search.
Hoversten also spoke to some of the clinical site representa-
tives over the telephone. After receiving Hoversten’s commu-
nications, all of the clinical sites declined to take Armstrong.
Hoversten said that she felt obligated to be honest with the
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                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
clinical sites that Armstrong was on probation, but also wanted
to let them know that Armstrong posed no risk to patient
safety and did not have any academic problems.
   Hoversten testified that she could not have opened a
new clinical site to accommodate Armstrong, as Armstrong
requested, because the process of approving a new site would
take 6 months to a year. Hoversten also could not have
allowed Armstrong to return to her specialty clinical rotation
temporarily, because under the clinical probation policy in the
CRNA program handbook, students may not be on a specialty
clinical rotation while on clinical probation. Hoversten testi-
fied that she could not extend the program and put her in a
clinical site because that would take up a clinical spot reserved
for someone in the class behind her.
                7. A dministrative Withdrawal
   After all of Clarkson’s clinical sites refused to take
Armstrong, she was without a clinical site. Under the CRNA
program handbook, students are allowed a total of 25 absences
during their clinical phase. Soon, Armstrong had run out of
allowed absences. Hoversten told her that she needed to with-
draw from the CRNA program, as was the plan under the
probation terms if another clinical site could not be found.
Armstrong was not willing to withdraw.
   On May 9, Hoversten spoke with the Clarkson registrar
about withdrawing Armstrong from the program. Rather than
dismissing Armstrong, Hoversten administratively withdrew
her from the program. Hoversten was told by the registrar that
Armstrong’s academic record would show that she withdrew,
but would not show whether it was a student dismissal or an
administrative dismissal. Hoversten testified that by adminis-
tratively withdrawing Armstrong rather than dismissing her,
she was trying to help her in case she wanted to apply to
another program.
                       8. Lawsuit and Trial
   Armstrong sued Clarkson for breach of contract. Before
trial, the district court granted Armstrong’s motion in limine
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to exclude any reference at trial to a prior incident of alleged
plagiarism involving Armstrong. For purposes of the motion,
the court admitted an “Academic Honesty Conference Form.”
According to the form, Armstrong’s “senior project [was] a
continuation of a previous student’s project. [Armstrong] sub-
mitted the first section of her paper in which the majority was
identical to the former student’s paper, including the entire lit-
erature review.” Under the student comments, it states, “It was
my thought that by taking over another student’s project I was
continuing where it left off. I now understand this was wrong
. . . .” She was allowed to start her coursework over with a
new assignment schedule. Armstrong stated in her deposition
that she did not commit plagiarism and that the incident was
a misunderstanding.
   At the jury instruction conference, Clarkson requested a jury
instruction on failure to fulfill a condition precedent, which
the district court denied. Clarkson claimed that Armstrong
failed to fulfill a condition precedent by failing to take
advantage of Clarkson’s grievance procedure before filing a
lawsuit.
   Clarkson also requested a jury instruction on impossibil-
ity of performance, which the district court denied. Clarkson
argued that the actions of Armstrong and the clinical sites
made it impossible to perform its obligation to provide a clini-
cal site for Armstrong.
   The district court allowed Clarkson to amend its pleading
to conform to the evidence on the issue of mitigation of dam-
ages. But the district court denied Clarkson’s requested jury
instruction on mitigation of damages. Clarkson argued that
Armstrong could have mitigated her damages by reapplying to
Clarkson or other CRNA programs.
   The jury returned a verdict for Armstrong in the amount of
$1 million.
   After trial, Clarkson moved to set aside the verdict or, in
the alternative, moved for a new trial. The motion was based
on the district court’s failure to grant Clarkson’s motion for
directed verdict at the close of Armstrong’s case in chief and
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at the close of her rebuttal, the district court’s failure to give
Clarkson’s requested jury instructions, and other grounds. The
district court denied the motion.
   Clarkson then brought this appeal. We granted Clarkson’s
petition to bypass the Nebraska Court of Appeals.
                III. ASSIGNMENTS OF ERROR
   Clarkson assigns several errors. They are, restated, that the
district court (1) erred in not granting its motion for directed
verdict, because there was no evidence that it acted arbitrarily
and capriciously; (2) abused its discretion in excluding evi-
dence of Armstrong’s plagiarism; (3) erred by not instructing
the jury on Armstrong’s alleged failure to fulfill a condition
precedent by not exhausting the school’s internal grievance
procedure; (4) erred by not instructing the jury on the affirm­
ative defense of “impossibility of performance”; (5) erred
by not instructing the jury on Armstrong’s alleged failure to
mitigate her damages; and (6) erred in not granting Clarkson’s
motion to set aside the verdict or for a new trial for the
above errors.
                  IV. STANDARD OF REVIEW
   [1,2] In reviewing a trial court’s ruling on a motion for
directed verdict, an appellate court must treat the motion as
an admission of the truth of all competent evidence submitted
on behalf of the party against whom the motion is directed;
such being the case, the party against whom the motion is
directed is entitled to have every controverted fact resolved in
its favor and to have the benefit of every inference which can
reasonably be deduced from the evidence.1 A directed verdict
is proper at the close of all the evidence only when reasonable
minds cannot differ and can draw but one conclusion from the
evidence, that is, when an issue should be decided as a matter
of law.2

 1	
      Winder v. Union Pacific RR. Co., 296 Neb. 557, 894 N.W.2d 343 (2017).
 2	
      Id.                                     - 611 -
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                     ARMSTRONG v. CLARKSON COLLEGE
                            Cite as 297 Neb. 595
   [3,4] An appellate court independently reviews questions of
law decided by a lower court.3 The formation and terms of an
implied contract are questions of fact, which an appellate court
reviews for clear error.4
   [5-7] In proceedings where the Nebraska Evidence Rules
apply, the admissibility of evidence is controlled by such rules;
judicial discretion is involved only when the rules make discre-
tion a factor in determining admissibility.5 When the Nebraska
Evidence Rules commit the evidentiary question at issue to
the discretion of the trial court, an appellate court reviews the
admissibility of evidence for an abuse of discretion.6 In a civil
case, the admission or exclusion of evidence is not reversible
error unless it unfairly prejudiced a substantial right of the
complaining party.7
   [8-13] A litigant is entitled to have the jury instructed upon
only those theories of the case which are presented by the
pleadings and which are supported by competent evidence.8
To establish reversible error from a court’s failure to give a
requested jury instruction, an appellant has the burden to show
that (1) the tendered instruction is a correct statement of the
law, (2) the tendered instruction was warranted by the evi-
dence, and (3) the appellant was prejudiced by the court’s fail-
ure to give the requested instruction.9 Whether the jury instruc-
tions given by a trial court are correct is a question of law.10

 3	
      Donut Holdings v. Risberg, 294 Neb. 861, 885 N.W.2d 670 (2016).
 4	
      See, City of Scottsbluff v. Waste Connections of Neb., 282 Neb. 848, 809
      N.W.2d 725 (2011); K.M.H. v. Lutheran Gen. Hosp., 230 Neb. 269, 431
      N.W.2d 606 (1988).
 5	
      Pierce v. Landmark Mgmt. Group, 293 Neb. 890, 880 N.W.2d 885 (2016).
 6	
      Id. 7	
      Id. 8	
      RM Campbell Indus. v. Midwest Renewable Energy, 294 Neb. 326, 886
      N.W.2d 240 (2016).
 9	
      Id.10	
      Anderson v. Union Pacific RR. Co., 295 Neb. 785, 890 N.W.2d 791      (2017).
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                      ARMSTRONG v. CLARKSON COLLEGE
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When reviewing questions of law, an appellate court has an
obligation to resolve the questions independently of the con-
clusion reached by the trial court.11 However, it is not error for
a trial court to refuse a requested instruction if the substance
of the proposed instruction is contained in those instructions
actually given.12 If the instructions given, which are taken
as a whole, correctly state the law, are not misleading, and
adequately cover the issues submissible to a jury, there is no
prejudicial error concerning the instructions and necessitating
a reversal.13
   [14,15] An appellate court reviews a denial of a motion for
new trial or, in the alternative, to alter or amend the judgment,
for an abuse of discretion.14 A judicial abuse of discretion
exists when the reasons or rulings of a trial judge are clearly
untenable, unfairly depriving a litigant of a substantial right
and denying just results in matters submitted for disposition.15
                         V. ANALYSIS
                1. Denial of Clarkson’s Motion
                      for Directed Verdict
   We first address Clarkson’s assertion that the district court
erred in not granting its motion for directed verdict. The par-
ties do not dispute that there was a contractual relationship
between them, but Clarkson asserts that its actions were subject
to academic deference such that no breach occurs unless its
actions are arbitrary and capricious. It argues it was entitled
to judgment as a matter of law because there was no evidence
it acted arbitrarily and capriciously in its actions leading to
Armstrong’s damages.

11	
      Id.
12	
      United Gen. Title Ins. Co. v. Malone, 289 Neb. 1006, 858 N.W.2d 196      (2015).
13	
      Id.14	
      Cisneros v. Graham, 294 Neb. 83, 881 N.W.2d 878 (2016).
15	
      Hartley v. Metropolitan Util. Dist., 294 Neb. 870, 885 N.W.2d 675 (2016).
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    [16] A contract may be express, implied, written, or oral.16
An implied in fact contract arises where the intention of the
parties is not expressed in writing but where the circumstances
are such as to show a mutual intent to contract.17 We conclude
that the relevant terms of the contract between Clarkson and
Armstrong are implied.
    [17] It is clear that the Clarkson student handbooks do
not express in writing the relevant terms of the contract
between Clarkson and Armstrong. Where an employee hand-
book expressly states that it creates no contractual obligations,
we have refused to treat it as creating any such obligations.18
Moreover, the requisite mutuality for an enforceable contract
is absent when one of the contracting parties is bound to
perform, and the rights of the parties exist at the option of
one only.19
    Clarkson’s CRNA program handbook, which Clarkson con-
cluded Armstrong violated and under which she was placed
on probation, states that “[t]he statements contained herein
are not to be regarded as an offer or contract.” It further
states that “[t]he information in this syllabus is intended to be
informational and not contractual in nature” and that Clarkson
“reserves the right to amend, alter, change, or modify the
provisions of this syllabus at any time and in any manner
. . . .” Similar language is found in many of Clarkson’s other
handbooks. Because these student handbooks both expressly
state they create no contractual obligations and they reserve to

16	
      Fast Ball Sports v. Metropolitan Entertainment, 21 Neb. App. 1, 835
      N.W.2d 782 (2013).
17	
      Donut Holdings v. Risberg, supra note 3.
18	
      See Hillie v. Mutual of Omaha Ins. Co., 245 Neb. 219, 512 N.W.2d 358      (1994).
19	
      See, id.; Millien v. Colby College, 874 A.2d 397 (Me. 2005) (holding in
      similar case that while contractual relationship existed between student
      and university, student handbook was not enforceable contract because of
      its reservation clause that allowed university power to unilaterally alter its
      terms).
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Clarkson the power to alter the provisions of the handbooks at
any time and in any manner, the relevant terms of the contract
between Clarkson and Armstrong are implied.
   [18,19] Where an implied in fact contract exists, its terms
may be shown by the surrounding facts and circumstances
giving rise to the contract, the conduct of the parties when
performing under the contract, or a general reasonableness
standard.20 And, as a general matter, the terms of an implied
contract are a question of fact to be determined by the jury
based on the evidence presented.21
   Clarkson argues that all its actions relevant to Armstrong’s
claimed damages constituted academic judgments that are enti-
tled to deference. Academic deference is given to the expert
evaluation of cumulative information involved in academic
decisionmaking.22
   For several reasons, Armstrong asserts that the academic
deference standard does not apply in this case. Alternatively,
Armstrong argues that the deferential standard for academic
judgments constitutes an affirmative defense that was waived
and that there was evidence from which the jury could have
concluded that Clarkson’s actions were arbitrary and capricious.
   [20,21] We find no merit to Armstrong’s claim that the def-
erential standard was an affirmative defense. An affirmative
defense raises a new matter which, assuming the allegations
in the petition to be true, constitutes a defense to the merits of
a claim asserted in the petition.23 Clarkson’s argument about

20	
      See, Linscott v. Shasteen, 288 Neb. 276, 847 N.W.2d 283 (2014); City of
      Scottsbluff v. Waste Connections of Neb., supra note 4; K.M.H. v. Lutheran
      Gen. Hosp., supra note 4.
21	
      See, City of Scottsbluff v. Waste Connections of Neb., supra note 4; K.M.H.
      v. Lutheran Gen. Hosp., supra note 4.
22	
      See, Doe v. Board of Regents, 287 Neb. 990, 846 N.W.2d 126 (2014); Doe
      v. Board of Regents, 283 Neb. 303, 809 N.W.2d 263 (2012); Doe v. Board
      of Regents, 280 Neb. 492, 788 N.W.2d 264 (2010).
23	
      Funk v. Lincoln-Lancaster Cty. Crime Stoppers, 294 Neb. 715, 885
      N.W.2d 1 (2016).
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the deferential standard applicable to academic judgments
does not raise a new matter, but instead relates to the proper
standard for reviewing a plaintiff’s claim for breach of con-
tract premised on an academic judgment.24
   We also reject Armstrong’s assertion that academic defer-
ence applies only to state-run universities and only to due proc­
ess rather than contract claims. In Doe v. Board of Regents,25
we held that a university’s academic judgments are entitled to
substantial deference in a breach of contract claim contesting
the medical school’s academic evaluation of the plaintiff’s pro-
fessionalism while performing his residency, and its ultimate
decision of dismissal. Virtually all authorities hold that defer-
ence is due the academic judgments of colleges and universi-
ties in contract claims, regardless of whether the institution is
private or public.26
   [22,23] But it does not follow that every decision by an
academic institution is subject to deference. The parties’ argu-
ments on appeal illustrate that although courts extend academic

24	
      See cases cited supra note 22.
25	
      Doe v. Board of Regents, supra note 22, 283 Neb. 303, 809 N.W.2d 263      (2012).
26	
      See Chang v. Purdue University, 985 N.E.2d 35, 47 (Ind. App. 2013)
      (holding in breach of contract claim against university arising from
      dismissal of student for unprofessional behavior that “[o]ur sole function
      when reviewing disciplinary actions such as in the present case is to
      determine whether the educational institution acted illegally, arbitrarily,
      capriciously, or in bad faith”). See, also, Mangla v. Brown University,
      135 F.3d 80 (1st Cir. 1998); Doe v. Brown University, 209 F. Supp. 3d
      460 (D.R.I. 2016); Holert v. Univ. of Chicago, 751 F. Supp. 1294 (N.D.
      Ill. 1990); Seitz-Partridge v. Loyola University, 409 Ill. App. 3d 76, 948
      N.E.2d 219, 350 Ill. Dec. 150 (2011); Abdullah v. State, 771 N.W.2d 246      (N.D. 2009); Kashmiri v. Regents of University of Cal., 156 Cal. App. 4th
      809, 67 Cal. Rptr. 3d 635 (2007); Raethz v. Aurora University, 346 Ill.
      App. 3d 728, 805 N.E.2d 696, 282 Ill. Dec. 77 (2004); Harwood v. Johns
      Hopkins, 130 Md. App. 476, 747 A.2d 205 (2000); Tedeschi v. Wagner
      Coll., 49 N.Y.2d 652, 404 N.E.2d 1302 (1980); Lexington Theological
      Seminary v. Vance, 596 S.W.2d 11 (Ky. App. 1979). See, generally, Annot.,
      47 A.L.R.5th 1 (1997).
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deference to some disciplinary judgments involving specialized
academic or professional expertise, when such expertise comes
into play is often less than clear.27 Regardless of whether the
deferential standard applies to Clarkson’s other decisions, we
find that academic deference does not apply to its failure
to provide Armstrong with a clinical site. And if there are
controverted facts to support recovery upon any theory of
liability pled by Armstrong, then the directed verdict was prop-
erly denied.28
   One of the theories presented by Armstrong in her com-
plaint, and on which the jury was instructed, was that Clarkson
breached its contract with Armstrong by failing to provide
her with a clinical site or the necessary clinical training to
complete the CRNA program. Armstrong testified that prior
to enrolling at Clarkson, Hoversten told her that Clarkson had
affiliation agreements with different clinical sites and told her
that she would be able to obtain the clinical hours she needed
to graduate. Hoversten testified at trial that Clarkson was
obligated to provide Armstrong with a clinical site as part of
the program.
   We conclude that Clarkson did not “actually exercise pro-
fessional judgment”29 when it failed to provide Armstrong
with a clinical site. Clarkson does not argue that it prevented

27	
      See, generally, 47 A.L.R.5th, supra note 26.
28	
      See, MacDonald Engineering Company v. Hover, 290 F.2d 301 (8th Cir.
      1961); Byrd v. Delasancha, 195 S.W.3d 834 (Tex. App. 2006); Gill Const.,
      Inc. v. 18th &amp; Vine Authority, 157 S.W.3d 699 (Mo. App. 2004); Springer
      v. Haugeberg, Rueter, Stone &amp; Gowell, 124 Or. App. 2, 860 P.2d 912      (1993); Atkins v. City Finance Co., 683 S.W.2d 331 (Tenn. App. 1984);
      Campbell v. Brinson, 89 Ariz. 197, 360 P.2d 211 (1961).
29	
      See Raethz v. Aurora University, supra note 26, 346 Ill. App. 3d at 732,
      805 N.E.2d at 699, 282 Ill. Dec. at 81 (“a court may not override the
      academic decision of a university ‘unless it is such a substantial departure
      from accepted academic norms as to demonstrate that the person or
      committee responsible did not actually exercise professional judgment,’”
      quoting Regents of University of Michigan v. Ewing, 474 U.S. 214, 106 S.
      Ct. 507, 88 L. Ed. 2d 523 (1985)).
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Armstrong from obtaining a clinical site for some academic
reason or as punishment for her misconduct. Quite the oppo-
site, Clarkson argues in another assignment of error that its
ability to provide a clinical site was rendered impossible by
the clinical sites’ decisions not to take Armstrong. That is,
Clarkson argues that Armstrong’s inability to obtain a clinical
site was not Clarkson’s decision, but the decision of the clinical
sites. Clarkson is certainly not entitled to deference for a deci-
sion that it claims it did not make.
   Clarkson and Armstrong disagree about Clarkson’s contrac-
tual duty to provide a clinical site. The disagreement is whether
the duty was a one-time duty that Clarkson performed when it
initially provided Armstrong with her clinical site at UNMC or
was an ongoing duty throughout the duration of Armstrong’s
time in the program, such that Clarkson had a duty to find her
a different clinical site once UNMC refused to allow her to
return when she was placed on probation.
   The terms of that duty were a question for the jury. The
jury could have reasonably concluded that Clarkson’s duty was
ongoing and that it breached its duty when it failed to provide
her a clinical site after she was placed on probation and UNMC
refused to allow her to return there.
   Additionally, the jury could have concluded that Clarkson
failed to take reasonable steps to find Armstrong another
clinical site in accord with the terms of her probation. At trial,
Armstrong testified that she agreed to the terms of her pro-
bation, and the jury could have reasonably found that these
terms modified the contract between Clarkson and Armstrong.
Broadly speaking, the terms were: Armstrong would return to
her primary clinical site, UNMC, if allowed back by UNMC;
Clarkson would “make a reasonable attempt” to place her at
another clinical site if UNMC did not allow her back; and
if no site were found, she would either withdraw or be dis-
missed from the program. The notes from the initial meeting
state that if UNMC would not allow Armstrong to return,
“Hoversten would do everything she can to retain a clinical site
within reason.”
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   The jury could have concluded that Clarkson failed to make
a reasonable attempt or failed to do everything it could within
reason to find Armstrong another site. While Clarkson made
some attempts to obtain a site for Armstrong after UNMC
refused to allow her back—sending an email to its other
clinical sites and making some telephone calls—whether these
efforts were reasonable was a question for the jury. The jury
could have reasonably concluded that Clarkson’s efforts were
not reasonable.
   We need not decide in this appeal whether Clarkson’s deter-
mination of the nature and type of professionalism that is
required of nurse anesthetists and its CRNA program students,
and its determination that Armstrong should be placed on
probation, is the type of academic judgment to which courts
should defer. Neither do we need to determine whether reason-
able minds could have differed as to whether Clarkson acted
arbitrarily and capriciously in determining that Armstrong acted
unprofessionally and that her actions warranted probation. The
district court did not err in denying Clarkson’s motion for
directed verdict, because the jury could have rendered a verdict
for Armstrong based on Clarkson’s failure to provide her with
a clinical site, an action that under the facts of this case was
entitled to no deference.
            2. Exclusion of Clarkson’s Evidence of
                A rmstrong’s A lleged Plagiarism
   Clarkson argues that the district court erred by grant-
ing Armstrong’s motion in limine to exclude evidence of
Armstrong’s alleged plagiarism. It argues that the plagiarism
was a part of the res gestae of its decision to place Armstrong
on probation, which led to her administrative withdrawal.
Armstrong argues that this evidence was properly excluded
because it is not relevant and would be unfairly prejudicial. We
conclude that the district court did not abuse its discretion in
excluding evidence of the alleged plagiarism.
   In a pretrial deposition, Hoversten said that Armstrong’s
inability to progress in the program was “the only reason why
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she was withdrawn.” But at trial, Clarkson made an offer of
proof that if allowed to testify, “Hoversten would be able
to explain the issues concerning plagiarism and the reason
why that entered in to her ultimate decisions with respect
to [Armstrong].”
   One of the reasons for the exclusion of the plagiarism evi-
dence advanced by Armstrong in her pretrial motion in limine
and on appeal is that it would violate Neb. Evid. R. 403, Neb.
Rev. Stat. § 27-403 (Reissue 2016). Under rule 403, evidence,
even if relevant, “may be excluded if its probative value is
substantially outweighed by the danger of unfair prejudice,
confusion of the issues, or misleading the jury, or by consider-
ations of undue delay, waste of time, or needless presentation
of cumulative evidence.”30
   Here, there is no question that allegations of plagiarism
would carry a risk of unfair prejudice. The allegation could
significantly affect the jury’s evaluation of Armstrong’s cred-
ibility. And the evidence presented at trial affirmatively shows
that the alleged plagiarism, which Armstrong contends was a
misunderstanding, played a minimal role, if any, in Clarkson’s
decision to discipline Armstrong. Moreover, Hoversten testi-
fied in her pretrial deposition that Armstrong’s inability to
progress in the program was the only reason for her dismissal,
in contradiction to the offer of proof made at trial. The evi-
dence of the alleged plagiarism carried little or no probative
value and a significant risk of unfair prejudice. Under these
circumstances, we conclude that the district court did not abuse
its discretion in excluding evidence of Armstrong’s alleged
plagiarism.
               3. Denial of Clarkson’s R equested
                        Jury Instructions
   Clarkson assigns error to the district court’s refusal to give
three of its proposed jury instructions. Clarkson’s tendered jury
instructions on the impossibility of Clarkson’s performance,

30	
      See, generally, State v. Rocha, 295 Neb. 716, 890 N.W.2d 178 (2017).
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Armstrong’s alleged failure to mitigate her damages, and
Armstrong’s alleged failure to fulfill a condition precedent.
   To establish reversible error from a court’s failure to give
a requested jury instruction, an appellant has the burden to
show that (1) the tendered instruction is a correct statement
of the law, (2) the tendered instruction was warranted by the
evidence, and (3) the appellant was prejudiced by the court’s
failure to give the requested instruction.31
                 (a) Impossibility of Performance
   Clarkson argues that the district court erred in not giving
its proffered jury instruction on impossibility of performance.
Clarkson argues that Armstrong’s conduct and the clinical
site’s refusal to accept her made it impossible for Clarkson to
perform its duties under the contract. Armstrong argues that
Clarkson’s performance was not impossible, because it should
not have disciplined her in the first place, and that it could
have demanded that UNMC allow her back, done a better job
advocating for her to other clinical sites, or allowed her to
stay at her specialty clinical site temporarily. We conclude that
the district court did not err by failing to give Clarkson’s jury
instruction on impossibility of performance.
   [24,25] The doctrine of impossibility of performance, often
now called impracticability of performance, excuses a promi-
sor’s failure to perform a duty under a contract where perform­
ance has been rendered severely impracticable or impossible
by unforeseen circumstances.32 The Restatement (Second)
on Contracts, § 261, entitled “Discharge by Supervening
Impracticability,” states:

31	
      RM Campbell Indus. v. Midwest Renewable Energy, supra note 8.
32	
      See, Turbines Ltd. v. Transupport, Inc., 285 Neb. 129, 825 N.W.2d 767      (2013); Cleasby v. Leo A. Daly Co., 221 Neb. 254, 376 N.W.2d 312      (1985); Mohrlang v. Draper, 219 Neb. 630, 365 N.W.2d 443 (1985). See,
      generally, 14 James P. Nehf, Corbin on Contracts § 74 (Joseph M. Perillo
      ed., rev. ed. 2001); 30 Richard A. Lord, A Treatise on the Law of Contracts
      by Samuel Williston § 77 (4th ed. 2004).
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         Where, after a contract is made, a party’s performance
      is made impracticable without his fault by the occurrence
      of an event the non-occurrence of which was a basic
      assumption on which the contract was made, his duty
      to render that performance is discharged, unless the lan-
      guage or the circumstances indicate the contrary.33
There are three general requirements for the application of the
doctrine of impracticability of performance: (1) the occurrence
(or nonoccurrence) of the event causing the impracticability
was unexpected; (2) performance of the duty by the promisor
would be extremely difficult and burdensome, if not impossi-
ble; and (3) the promisor did not assume the risk of the event’s
occurrence (or nonoccurrence).34
   [26] Performance of a contractual duty is not impracticable
merely because it has become inconvenient or more expen-
sive.35 Mere difficulty of performance is not enough.36 As the
Supreme Court of Colorado explained regarding the distinction
between impossibility and mere difficulty:
      “‘[T]he true distinction is not between difficulty and
      impossibility. A man may contract to do what is impos-
      sible . . . . The important question is whether an unantici-
      pated circumstance has made performance of the prom-
      ise vitally different from what should reasonably have
      been within the contemplation of both parties when they
      entered into the contract. If so, the risk should not fairly
      be thrown upon the promisor.’ . . .”37
   [27,28] A promisor’s duty to perform will be excused if it is
the other party’s conduct that makes performance impossible

33	
      Restatement (Second) of Contracts § 261 at 313 (1981) (cited by Cleasby
      v. Leo A. Daly Co., supra note 32).
34	
      14 Nehf, supra note 32, § 74.1 (Corbin on Contracts).
35	
      See Mohrlang v. Draper, supra note 32.
36	
      See id.37	
      Littleton v. Emp. Fire Ins. Co., 169 Colo. 104, 108, 453 P.2d 810, 812      (1969).
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or impracticable.38 And the party invoking the impracticability
defense must show that he or she used reasonable efforts to
surmount the obstacles which prevented performance.39
   [29] Here, Clarkson’s tendered jury instruction is a correct
statement of law. It is based on NJI2d Civ. 15.20, entitled
“Impossibility of Performance.” But Clarkson’s jury instruction
was not warranted by the evidence. A tendered jury instruction
is warranted by the evidence only if there is enough evidence
on the issue to produce a genuine issue of material fact for
the jury to decide.40 Clarkson’s instruction was not warranted,
because the difficulty was not unexpected and Clarkson failed
to take reasonable steps to overcome the difficulty.
   For the defense of impracticability of performance to apply,
the event making performance impracticable must be unex-
pected. Here, it was not unexpected that a student might
be placed on probation or that a clinical site might dismiss
or refuse to accept a student. While the specific details of
Armstrong’s behavior might have been unexpected, it certainly
was not unforeseen to Clarkson that a student might act in an
unprofessional manner. Nor was it unforeseen that a student
might be placed on probation. This is precisely why Clarkson

38	
      See, Hardin v. The Eska Co., Inc., 256 Iowa 371, 377-78, 127 N.W.2d
      595, 598 (1964) (“the rule is well settled that one party to a contract may
      not hamper the efforts of the other in performance according to its terms. .
      . . ‘Each party to a contract impliedly agrees not to prevent . . . the other
      party from performing or, . . . to render performance impossible by any
      act of his own’”); 14 Nehf, supra note 32, § 74.3 (Corbin on Contracts).
      Cf. D &amp; S Realty v. Markel Ins. Co., 284 Neb. 1, 816 N.W.2d 1 (2012)
      (discussing the doctrine of prevention); Fast Ball Sports v. Metropolitan
      Entertainment, supra note 16 (same).
39	
      McCalden v. California Library Ass’n, 955 F.2d 1214 (9th Cir. 1990)
      (superseded by rule on other grounds as stated in Harmston v. City and
      County of San Francisco, 627 F.3d 1273 (9th Cir. 2010)); 30 Lord, supra
      note 32, § 77:8 (Williston on Contracts).
40	
      See, generally, Tapp v. Blackmore Ranch, 254 Neb. 40, 56, 575 N.W.2d
      341, 352 (1998) (“[a] litigant is entitled to have the jury instructed only
      upon those theories of the case which are presented by the pleadings and
      which are supported by competent evidence”).
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has rules regarding professionalism and student probation.
It is also clear that it was not unforeseen to Clarkson that a
clinical site might terminate or refuse to accept a student;
its clinical affiliation agreement with UNMC expressly con-
templates this. The agreement provides the conditions under
which UNMC could terminate a student’s clinical experience
and provides that Clarkson would not reassign a terminated
student to UNMC without approval, but that approval “will not
be unreasonably withheld.” Clarkson’s policies and its clinical
affiliation agreement unambiguously show that Armstrong’s
probation and the clinical sites’ refusal to accept her were not
unexpected. Thus, the doctrine of impracticability of perform­
ance cannot apply.
   The doctrine of impracticability also does not apply because
Clarkson failed to use reasonable efforts to overcome the diffi-
culty it faced in performing its duty to provide Armstrong with
a clinical site. Clarkson failed to make any attempts to enforce
its rights under its clinical affiliation agreement with UNMC or
any other sites in order to secure a clinical site for Armstrong.
The clinical affiliation agreement gives UNMC “the right to
terminate a student’s clinical experience” in situations where
“flagrant or repeated violations of [UNMC’s] rules, regula-
tions, policies, or procedures occur.” It also allows UNMC “to
take immediate action when necessary to preserve the quality
of patient services and to maintain operation of its facilities
free from interruption.” No evidence was presented at trial that
Armstrong violated any rules at UNMC, much less that she
engaged in flagrant or repeated violations. Nor was any evi-
dence presented that she posed any risk to the quality of patient
services or was a risk of causing interruption at UNMC. And
Hoversten stated in her emails to the other clinical sites that
Armstrong was not a patient safety risk. Clarkson did not make
any efforts to demand that UNMC perform its obligations
under the agreement and allow Armstrong to return to complete
her clinical studies.
   As the party invoking the impracticability defense, Clarkson
must show that it used reasonable efforts to overcome the
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                      ARMSTRONG v. CLARKSON COLLEGE
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obstacles which prevented its performance—here, the clinical
sites’ refusals to accept Armstrong. Because Clarkson failed to
make any efforts to enforce its rights under the clinical agree-
ment with UNMC or with the other clinical sites, it is not enti-
tled to a defense of impracticability based on their decisions to
not accept Armstrong. We conclude that the district court did
not err in refusing to give Clarkson’s tendered jury instruction
on impossibility of performance.
                   (b) Mitigation of Damages
   Clarkson argues that the district court erred in refusing to
give its proffered jury instruction on mitigation of damages. It
claims that Armstrong failed to mitigate her damages by failing
to reapply for Clarkson’s CRNA program or apply at a nurse
anesthetist program at another school. Armstrong argues that it
would have been futile to reapply at Clarkson after it withdrew
her from the program and that she could not afford to attend a
nurse anesthetist program at another school. We conclude that
the district court did not err in refusing Clarkson’s requested
jury instruction on mitigation of damages.
   There is no question that Clarkson’s tendered instruction is
a correct statement of law.41 It is nearly identical to NJI2d Civ.
4.70, the model jury instruction on mitigation of damages.
   But Clarkson’s proffered jury instruction was not war-
ranted by the evidence. A tendered jury instruction is war-
ranted by the evidence only if there is enough evidence on the
issue to produce a genuine issue of material fact for the jury
to decide.42

41	
      See Borley Storage &amp; Transfer Co. v. Whitted, 271 Neb. 84, 95, 710
      N.W.2d 71, 80 (2006) (“[t]he general rule is that whenever applicable, the
      Nebraska Jury Instructions are to be used [and the i]nstruction given by
      the district court is taken nearly verbatim from NJI2d Civ. 4.70 and is a
      correct statement of the law” (citations omitted)).
42	
      See, generally, Tapp v. Blackmore Ranch, supra note 40; Tedd Bish
      Farm v. Southwest Fencing Servs., 291 Neb. 527, 867 N.W.2d 265      (2015) (discussing jury instruction on mitigation of damages at summary
      judgment stage).
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   [30,31] Regarding the mitigation of damages, we have said:
     Under the doctrine of avoidable consequences, which
     is another name for the failure to mitigate damages, a
     wronged party will be denied recovery for such losses
     as could reasonably have been avoided, although such
     party will be allowed to recover any loss, injury, or
     expense incurred in reasonable efforts to minimize the
     injury. . . . A plaintiff’s failure to take reasonable steps to
     mitigate damages bars recovery, not in toto, but only for
     the damages which might have been avoided by reason-
     able efforts.43
A party is required only to mitigate damages that might have
been avoided by “reasonable efforts.”44 A plaintiff is “‘not
required to unreasonably exert himself or to incur an unreason-
able expense in order to’” mitigate damages.45 In reviewing
the reasonableness of a party’s actions to mitigate damages,
we often consider three factors: (1) the cost or difficulty to
the plaintiff of mitigation, (2) the plaintiff’s financial ability to
mitigate, and (3) the defendant’s actions to inhibit the plaintiff
from mitigating damages.46
   The first two factors are dispositive here. The only evidence
presented at trial about Armstrong’s ability to complete her
degree at another program was her testimony that, according
to Hoversten and one or two other program directors with
whom she spoke, nurse anesthesia credits are nontransferable,
meaning that she would have to start her 30-month program

43	
      Borley Storage &amp; Transfer Co. v. Whitted, supra note 41, 271 Neb. at 95,
      710 N.W.2d at 80.
44	
      See id.45	
      Hidalgo Prop., Inc. v. Wachovia Mortg. Co., 617 F.2d 196, 200 (10th Cir.
      1980). See, also, System Components Corp. v. Florida DOT, 14 So. 3d 967      (Fla. 2009); Coughlin Const. v. Nu-Tec Indus., Inc., 755 N.W.2d 867 (N.D.
      2008); Chicago Title Ins. Co. v. HNB, 87 Ohio St. 3d 270, 719 N.E.2d 955      (1999); Great American Ins. v. N. Austin Utility, 908 S.W.2d 415 (Tex.
      1995).
46	
      See Tedd Bish Farm v. Southwest Fencing Servs., supra note 42.
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over from the beginning. According to Armstrong, Hoversten
told Armstrong that she could reapply at Clarkson, but would
have to start the program over. Clarkson has the only CRNA
program in Omaha. There is only one other program in the
state; according to Armstrong, Glidden—who decided not to
allow her to return to UNMC—is on the board at that other
program. And Armstrong also testified that she could not afford
to ­reapply and start a CRNA program over.
   Thus, according to the evidence presented at trial, in order
to mitigate her lost future income damages, Armstrong would
have had to start a 30-month program over; pay for that pro-
gram, which she could not afford; and likely move out of
state. A plaintiff is not required to make unreasonable efforts
or incur unreasonable expense in mitigating damages. And
ordinarily, a plaintiff is not required to make expenditures
to mitigate that are beyond his or her financial means or to
relocate to another city or state.47 We conclude, as a matter of
law, that Armstrong did not fail to mitigate her damages by
not ­reapplying and enrolling at Clarkson or at another CRNA
program. Clarkson’s mitigation jury instruction was not war-
ranted by the evidence, and thus, the district court did not err
in refusing to give that instruction.
           (c) Failure to Fulfill Condition Precedent
   Clarkson argues that the district court erred in refusing
to give its proffered jury instruction on failure to fulfill a

47	
      See, Hegler v. Board of Ed. of Bearden Sch. Dist., Bearden, Ark., 447
      F.2d 1078, 1081 (8th Cir. 1971) (holding that teacher’s failure to apply
      for out-of-state teaching jobs was not failure to mitigate, because “it
      was not unreasonable for her to refuse to abandon her community and
      move to another state in order to reduce damages caused by the School
      Board’s unlawful acts”); Gerwin v. Southeastern Cal. Assn. of Seventh
      Day Adventists, 14 Cal. App. 3d 209, 219, 92 Cal. Rptr. 111, 117 (1971)
      (“[o]rdinarily a duty to mitigate does not require an injured party to
      take measures which are unreasonable or impractical or which require
      expenditures disproportionate to the loss sought to be avoided or which are
      beyond his financial means”).
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condition precedent. It argues that exhausting its internal
grievance procedure is a condition precedent to the enforce-
ability of Armstrong’s rights under the contract. We conclude
that the district court erred in denying Clarkson’s tendered
jury instruction on Armstrong’s alleged failure to fulfill a
condition precedent by not exhausting Clarkson’s grievance
procedure.
   While the district court should have instructed the jury on
the condition precedent issue, Armstrong’s failure to exhaust
the grievance procedure would be irrelevant if she never
agreed to the policy. To prevail on this defense, Clarkson
must prove to a jury that the grievance policy was a term
of the contract. As discussed above, the student handbooks
that contain contractual disclaimers or reserve an unrestricted
power to amend the policies contained therein are not con-
tracts and do not supply the terms of the agreement between
Clarkson and Armstrong. We are not deciding that the griev-
ance policy was a term of the contract, but only that a jury
should have been instructed on the issue. On remand, the
jury will determine whether the grievance policy was a term
of the contract and whether Armstrong’s failure to grieve is
excused by any of the exceptions to the exhaustion of rem-
edies requirement.

                 (i) Clarkson’s Instruction Was
                    Correct Statement of Law
   [32,33] Armstrong argues that Clarkson’s instruction was not
a correct statement of law, because the doctrine of exhaustion
of remedies does not apply to private, nongovernmental enti-
ties like Clarkson. This argument is without merit. Under the
doctrine of exhaustion of administrative remedies, one must
generally exhaust any available administrative remedies before
one can seek judicial review.48 The exhaustion requirement

48	
      See Vaccaro v. City of Omaha, 6 Neb. App. 410, 573 N.W.2d 798 (1998),
      affirmed 254 Neb. 800, 579 N.W.2d 535.
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has been considered a jurisdictional prerequisite in some cases
and a condition precedent to filing suit in others.49 This doc-
trine generally applies to governmental entities.50
   [34] But the exhaustion of remedies doctrine also applies
in many cases to private, nongovernmental entities that pro-
vide internal administrative review procedures. Courts have
required plaintiffs to exhaust their remedies with private enti-
ties before seeking judicial review in cases involving manda-
tory grievance procedures in employee handbooks,51 university
grievance procedures for reviewing faculty tenure decisions,52
union grievances against employers,53 and intercollegiate ath-
letic association appeals,54 just to name a few. And this court
has refused to grant equitable relief against a private asso-
ciation if the plaintiff-member has not first exhausted his or
her remedies within the association.55 We have also held that
“an individual stockholder must exhaust all means of redress

49	
      See Vaccaro v. City of Omaha, supra note 48, 254 Neb. 800, 579 N.W.2d
      535 (1998).
50	
      See, generally, Vaccaro v. City of Omaha, supra note 48, 6 Neb. App. 410,
      573 N.W.2d 798 (1998).
51	
      McGuire v. Continental Airlines, Inc., 210 F.3d 1141 (10th Cir. 2000)
      (interpreting Colorado law).
52	
      Neiman v. Yale University, 270 Conn. 244, 851 A.2d 1165 (2004).
53	
      Republic Steel v. Maddox, 379 U.S. 650, 85 S. Ct. 614, 13 L. Ed. 2d 580      (1965).
54	
      State Board of Ed. v. National Collegiate Ath. Ass’n, 273 So. 2d 912 (La.
      App. 1973). See, also, Oliver v. Natl. Collegiate Athletic Assn., 155 Ohio
      Misc. 2d 1, 920 N.E.2d 190 (2008).
55	
      Crisler v. Crum, 115 Neb. 375, 213 N.W. 366 (1927). See, also, FHSAA
      v. Melbourne Central Catholic School, 867 So. 2d 1281, 1287-88 (Fla.
      App. 2004) (“[g]enerally, the exhaustion doctrine applies not only to state
      agencies, but also to voluntary associations. . . . Under the common law,
      associations may require their members to exhaust all internal remedies
      within the association before resorting to any court or tribunal outside
      of the association. As a general rule, when a private organization has
      procedures for internal review of its decisions, those procedures must be
      exhausted before seeking redress from a court” (citations omitted)).
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within the corporation before bringing” a stockholder deriva-
tive suit.56 In sum, the requirement of exhausting internal
remedies with a private entity as a prerequisite to bringing
suit is common throughout the law. Armstrong’s argument
that the exhaustion requirement does not apply to Clarkson’s
grievance procedure because it is not a governmental entity
is unpersuasive.
   Three cases on the exhaustion of remedies doctrine are
instructive here. In McGuire v. Continental Airlines, Inc.,57
the 10th Circuit Court of Appeals, interpreting Colorado law,
addressed a breach of contract claim (among other claims)
by an employee against his private employer, Continental
Airlines (Continental). At trial, the jury found for the plain-
tiff on the breach of contract claim. The plaintiff, whose
employment had been terminated for violation of the company
absence policy, alleged that his supervisor had miscalculated
the number of his absences. In Continental’s employee hand-
book, it provided a four-step internal appeal process to con-
test employee discipline. The appeal procedure stated, “‘If a
matter involving the proper application of Company policy
or disciplinary action (including dismissal) is not resolved to
the employee’s satisfaction [after discussing the matter with
the employee’s immediate supervisor], the employee may file
a formal appeal using Continental’s Appeal Procedure.’”58
The plaintiff did not initiate the final two stages of the
appeal procedure.
   The court began with the legal proposition that “[o]rdinarily,
an employee must seek to exhaust an employer’s exclusive
internal grievance process before seeking judicial relief.”59
It then concluded that “Continental’s grievance procedure

56	
      Kowalski v. Nebraska-Iowa Packing Co., 160 Neb. 609, 615, 71 N.W.2d
      147, 151 (1955).
57	
      McGuire v. Continental Airlines, Inc., supra, note 51.
58	
      Id. at 1143-44.
59	
      Id. at 1146.
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was the exclusive remedy for challenging a breach of the
Attendance Policy.”60 It reached this conclusion by reasoning
that while the policy was expressed in permissive language
(“‘the employee may file a formal appeal’”61), under Colorado
law, “[a]ny doubt as to the application of the [grievance] pro-
cedure is to be resolved in favor of exclusivity.”62 The court
held that the plaintiff’s breach of contract claim failed because
he had failed to exhaust his remedies, and it reversed the
jury’s verdict.
   Another instructive case from the Supreme Court of
Connecticut is Neiman v. Yale University,63 which Clarkson
cites at length in its brief. In that case, a professor sued Yale
University, a private school, for breach of contract arising from
its failure to offer her a tenured faculty position. The univer-
sity faculty handbook contained a grievance procedure, which
stated that if a faculty member believed that a university policy
had not been followed or insufficient consideration was given
for a faculty reappointment or promotion decision, “‘the fac-
ulty member may request review of his or her complaint.’”64
The plaintiff did not file a grievance. The trial court dismissed
the plaintiff’s claim because of her failure to exhaust the griev-
ance procedure.
   The court held that the exhaustion requirement applied,
stating, “We agree with the majority of jurisdictions that
the exhaustion of remedies doctrine applies to the internal
grievance processes provided by academic institutions.”65 It
reasoned that “[t]o allow a plaintiff to sidestep these proce-
dures would undermine the internal grievance procedure that
the parties had agreed to and encourage other litigants to

60	
      Id.
61	
      Id. at 1143 (emphasis supplied).
62	
      Id. at 1146.
63	
      Neiman v. Yale University, supra note 52.
64	
      Id. at 257, 851 A.2d at 1173 (emphasis in original).
65	
      Id. at 255, 851 A.2d at 1172.
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ignore the available process as well.”66 It also reasoned that
with respect to tenure decisions, “academic institutions them-
selves are best suited to be the original forum for these types
of disputes.”67
   The court also concluded that the grievance procedure,
in spite of being phrased in permissive language (“‘the fac-
ulty member may request review of his or her complaint’”),
was mandatory.68 The court said that the permissive language
of the policy meant that “although the plaintiff was not
compelled to pursue administrative remedies, the language
meant that the plaintiff had the choice of either forgoing the
grievance procedure and accepting the decision or using the
procedure available.”69 The court affirmed the trial court’s
dismissal.
   Another relevant case from the Court of Appeals of New
Mexico is Lucero v. UNM Bd. of Regents.70 The plaintiff, who
worked at the University of New Mexico Health Sciences
Center, sued his former employer. He brought a breach of con-
tract claim (not a due process claim) based on the termination
of his employment, which he argued violated the employee
handbook. The handbook’s grievance procedure stated that if
an employee could not resolve an issue with his or her imme-
diate supervisor, the employee “‘may submit a grievance in
writing to the immediate supervisor or Administrator.’”71 The
plaintiff did not file a grievance. The trial court held a bench
trial and entered judgment in favor of the plaintiff.
   The court reversed the trial court’s judgment because the
plaintiff had failed to file a grievance. It stated that “an
employee must exhaust grievance procedures in an employee

66	
      Id.
67	
      Id.
68	
      Id. at 257, 851 A.2d at 1173 (emphasis in original).
69	
      Id. at 257-58, 851 A.2d at 1173.
70	
      Lucero v. UNM Bd. of Regents, 2012 NMCA 055, 278 P.3d 1043 (2012).
71	
      Id. at ¶ 2, 278 P.3d at 1044.
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handbook or manual before filing claims against the employer
for breach of contract.”72 The court noted that “[c]ourts from
other jurisdictions have uniformly applied the same rule,
regardless of whether the employer is a public entity or a pri-
vate entity.”73
   [35] What these cases illustrate is that where an employer
or university provides a mandatory grievance procedure in a
contract, the enforceability of a party’s rights under the con-
tract is conditioned on the exercise of that grievance procedure.
Several rationales underlie the requirement of exhaustion of
remedies in these and other similar cases. These rationales are
not limited to the employment context, but apply with equal
force to the internal procedures of colleges and universities.
   First, the exhaustion requirement is important because it
allows the private entity—whether an employer, labor union,
private association, or university—“to redress wrongs without
burdening the courts with unnecessary litigation.”74 Courts
need not and should not be in the business of addressing
internal issues within a private organization before the deci-
sionmaking process has had the opportunity to run its course
and become final. Here, Clarkson’s grievance committee,
composed of outside individuals in the college without any
conflicts of interest, may well have decided that Armstrong
should not have been disciplined, that she should have been
given more time to complete the program, and that she
should not have been administratively withdrawn, or could
have made some other decision favorable to her. By allowing
Clarkson’s decisionmaking process to run its full course, the
need for judicial intervention may well have been obviated.
Not only does the exhaustion requirement give the school
the opportunity to correct its own potential mistakes through
its grievance procedure, but it conserves valuable and scarce

72	
      Id. at ¶ 10, 278 P.3d at 1045.
73	
      Id. at ¶ 12, 278 P.3d at 1046.
74	
      Id. at ¶ 13, 278 P.3d at 1046.
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judicial resources by preventing unnecessary litigation in
some cases.
   Related to the policy of conservation of judicial resources,
the exhaustion requirement serves to build a record if later
judicial proceedings do ensue and to clarify the parties’ argu-
ments and sharpen the focus on the relevant evidence.75 By
attempting to resolve the issues internally, the scope of the
dispute may be narrowed, making resolution easier for later
judicial proceedings.
   [36] Finally, failing to treat mandatory grievance proce-
dures as a condition precedent would effectively make them
optional. It would undermine an organization’s ability to create
by contract a single forum to resolve all of its internal disputes.
And as one court reasoned, mandatory grievance procedures
must be exhausted before seeking judicial review, because the
grievance procedure “is part of the contractual bargain and
defines the rights themselves.”76
   [37] The exhaustion of a mandatory grievance procedure
in a contract is a condition precedent to enforcing the rights
under that contract.77 Because Armstrong’s argument that the
exhaustion requirement does not apply to private entities is
without merit, we disagree that Clarkson’s instruction was an
incorrect statement of law.
   Armstrong also argues that Clarkson’s instruction is not a
correct statement of law because the grievance policy does not
expressly state that it is a condition precedent to the enforce-
ability of Clarkson’s duties under the contract. But the exhaus-
tion of a mandatory grievance procedure in a contract is a con-
dition precedent to enforcing the rights under that contract.78

75	
      Soentgen v. Quain &amp; Ramstad Clinic, P.C., 467 N.W.2d 73 (N.D. 1991).
76	
      Berkowitz v. President &amp; Fellows of Harvard, 58 Mass. App. 262, 275,
      789 N.E.2d 575, 585 (2003).
77	
      See, McGuire v. Continental Airlines, Inc., supra note 51; Lucero v. UNM
      Bd. of Regents, supra note 70; Neiman v. Yale University, supra note 52.
78	
      Id.
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The grievance procedure does not need to expressly state that
it is a condition precedent.79 The fact that the instruction refers
to an implied duty to exhaust the grievance procedure does not
mean that it is an incorrect statement of law.

                 (ii) Clarkson’s Instruction Was
                      Warranted by Evidence
   Clarkson’s instruction was not only a correct statement of
law, but it was warranted by the facts. Clarkson presented
evidence that it provided a copy of the grievance policy and
the grievance form to Armstrong when she was placed on pro-
bation. And the grievance procedure was mentioned in some
of the student handbooks distributed to Armstrong. Clarkson
presented evidence that Armstrong was aware of the policy.
There was sufficient evidence to create a factual issue for the
jury regarding whether the grievance policy was a term of the
contract between Clarkson and Armstrong.
   And Clarkson’s grievance policy was clearly intended to
be mandatory. The policy explains how a student may file a
grievance and states that “[t]he Grievance Committee is the
designated arbiter of disputes within the student community in
cases, which do not involve a violation of the Student Code of
Conduct . . .” and that the committee’s decisions are final. This
language is not unlike the language of the grievance policies
found to be mandatory in the cases discussed above.80 We do
not presume that Clarkson intended its grievance procedure to
be optional.
   But in deciding that Clarkson’s jury instruction was war-
ranted by the evidence, we make no comment on whether any

79	
      Id. See, also, Sylvain v. Spaulding Rehabilitation Hosp. Corp., No.
      15-5475-D, 2016 WL 1125940 at *10 (Mass. Super. Mar. 23, 2016)
      (unpublished decision) (“the law does not require that internal grievance
      procedure exhaustion be compelled in express terms as a condition for
      making later contract claims in court”).
80	
      See, McGuire v. Continental Airlines, Inc., supra note 51; Lucero v. UNM
      Bd. of Regents, supra note 70; Neiman v. Yale University, supra note 52.
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of the exceptions to the exhaustion requirement, such as futil-
ity or inadequacy of the remedy, apply in this case.81 While
Armstrong could have filed a grievance to appeal the decision
to place her on probation, it is not clear whether she could
have filed a grievance to appeal the decision to withdraw her
from the program after she was administratively withdrawn
and was no longer a student. At trial, Armstrong testified that
she believed she was not able to file a grievance after she had
been withdrawn from the program. On its face, the grievance
policy does not state whether a former student may file a
grievance to dispute a dismissal or administrative withdrawal
after the dismissal or withdrawal when the former student is
no longer enrolled at the college. This argument about whether
the grievance policy was available to Armstrong—and thus
whether it was an adequate remedy that she was required to
exhaust—is best addressed by a jury that has been instructed
on the issue.
   We also do not address whether Clarkson is estopped from
arguing that Armstrong failed to fulfill a condition prec-
edent based on her failure to file a grievance because of the
statement made to her by Damewood, the vice president of
operations, regarding her behavior’s constituting a Code of
Conduct violation—to which the grievance policy does not
apply. Nor do we address whether Armstrong’s failure to
use the grievance policy is excused by the doctrine of pre-
vention.82 These are factual questions for the jury to decide
on remand.
   While Armstrong may argue to the jury that Damewood’s
statement excused her from exhausting Clarkson’s grievance
procedure, this does not mean that Clarkson’s instruction was
not warranted by the evidence. Armstrong argues that the

81	
      See, e.g., Vaccaro v. City of Omaha, supra note 48, 6 Neb. App. 410,
      573 N.W.2d 798 (1998) (there are exceptions to exhaustion doctrine’s
      application); 2 Am. Jur. 2d Administrative Law § 454 (2014).
82	
      See, D &amp; S Realty v. Markel Ins. Co., supra note 38; Fast Ball Sports v.
      Metropolitan Entertainment, supra note 16.
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               ARMSTRONG v. CLARKSON COLLEGE
                      Cite as 297 Neb. 595
grievance policy is inapplicable, because it expressly does not
apply to Code of Conduct violations. But Armstrong was not
disciplined for violating the Code of Conduct. Armstrong was
disciplined for violating the CRNA program handbook and the
AANA Code of Ethics.
   Armstrong’s argument that the grievance policy did not
apply to her is based on one issue: At the initial meeting on
April 23, 2013, Damewood told Armstrong that her conduct
violated the Code of Conduct.
   To bring charges for a Code of Conduct violation, a member
of the college community must prepare written charges and
present them to the judicial advisor, Damewood. The written
charges must then be presented to the accused student in writ-
ing. No written charges of violating the Code of Conduct were
ever filed by anyone with Damewood, nor were any written
charges ever presented to Armstrong. Outside of Damewood’s
statement at the first meeting, there is no evidence that the
Code of Conduct was discussed. In the second meeting, at
which Armstrong was given the formal notification that she
was being placed on probation, Armstrong was told that she
was being placed on probation for violating the CRNA pro-
gram handbook’s professionalism rule and the AANA Code
of Ethics. At trial, when discussing the outline of the April
24 meeting at which she was placed on probation, Armstrong
admitted that the basis for her probation was violation of the
CRNA program handbook and the AANA Code of Ethics, not
the Code of Conduct.
   Armstrong’s argument that the grievance procedure was
inapplicable because it does not apply to Code of Conduct
violations is without merit, because she was never charged
with a violation of the Code of Conduct. Damewood’s incor-
rect statement that Armstrong had violated the Code of
Conduct may be relevant to an estoppel argument—made
to a jury properly instructed on the exhaustion issue—but
it does not mean that the instruction was not warranted by
the evidence.
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                ARMSTRONG v. CLARKSON COLLEGE
                       Cite as 297 Neb. 595
            (iii) Clarkson Was Prejudiced by Court’s
              Failure to Give Requested Instruction
   Finally, we conclude that the district court’s refusal to give
Clarkson’s proffered jury instruction on Armstrong’s failure
to fulfill a condition precedent by not filing a grievance was
prejudicial to Clarkson. Armstrong argues that there was no
prejudice to Clarkson, because the substance of the proposed
instruction was covered by the court’s instruction to the jury
that Armstrong bore the burden of proving that she “substan-
tially performed her part of the contract.” But whether a con-
dition precedent was met is not the same question as whether
a party substantially performed a contract. As a condition
precedent, using the grievance procedure would be neces-
sary to trigger the enforceability of Clarkson’s duties under
the contract, but if using the grievance were merely one of
Armstrong’s many duties under the contract, then the jury may
determine that she substantially performed her duties under
the contract in spite of not filing a grievance. Armstrong’s
argument that the condition precedent instruction was covered
in substance by the substantial performance instruction is
legally incorrect. No other jury instruction adequately covered
the issue of Armstrong’s failure to fulfill a condition precedent
by not filing a grievance.
   Because Clarkson’s tendered jury instruction was a cor-
rect statement of law and was warranted by the evidence,
and because the failure to give this instruction was prejudi-
cial to Clarkson, the district court erred in refusing to give
Clarkson’s instruction. We reverse the judgment of the district
court and remand the cause for a new trial in accordance with
this opinion.

            4. Denial of Clarkson’s Motion to Set
                Aside Verdict or for New Trial
   Clarkson’s motion to set aside verdict or motion for new
trial is derivative of its other alleged errors. Having con-
cluded that the district court committed reversible error in
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               ARMSTRONG v. CLARKSON COLLEGE
                      Cite as 297 Neb. 595
failing to instruct the jury on the issue of Armstrong’s alleged
failure to fulfill a condition precedent by not exhausting
Clarkson’s grievance procedure, we conclude that the district
court abused its discretion by denying Clarkson’s motion for
new trial.
                      VI. CONCLUSION
   For the reasons set forth in this opinion, we reverse the
judgment of the district court and remand the cause for a new
trial in accordance with this opinion.
                    R eversed and remanded for a new trial.
